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so that we can return the card to you.
js Attach this card to the back of the mailpiece,
or on the front if space permits.

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A. Signature
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D. Is delivery address different from item 1? [1 Yes
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2. Article Number (Transfer from service label)

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